     Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 1 of 10 PageID #:1




                                                                               R E C E I VE
                              UNITED STATES DISTRICT COURT                                                D
                         F'OR THE NORTHERN DISTRICT oF ILLINOIS APR                  I 5 Z1.l4
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 ?g   tt3    u)                                 )
                                                )
Lrsl.e.r fL               0>ossz-               )         CNIL ACTION
(Name of the plaintiff or plaintiffs)

                  v.                                      I
                                                              1:1Lcv-02704
  l-o\e I q Un,rte-=,iLl
                                                              Jydg" Marvin E. Aspen
 2LbO 9^ Fi.s{- Avenue                                        Magistrate Judge Geraldine Soat Brown

 Moyuroodr             EL @tss
(Name of the defendant or defendants)



                       COMPLAINT OF EMPLOYMENT DISCRIMINATION

l. This is an action for employment discrimination.

2.   The plaintiff is      Ca-rne.l r*"a. Gee-                                                   of the

county   of Du.?ase,                                   in the state of   f   t-Lrr-rois

3.   The defendant      is Loyola'      Ure r van<ii#'1                                         , whose

street address    is Ztbo S*, Frrst            Avenue
(city)   MaYooocr (county) CooK                       (state)   5( t rnots      (zw) botsS
(Defendant's telephone     number) (lqg) Zl b- 83 7a
4. The plaintiff sought employment       or was employed by the defendant at (street address)

     2160 S Ftrs* 4ue.nue,89,t&, RnZo                                1citfl Mayoood
     (counry)    (ooK        (state)    .Ez-        (ZIP code) /2o 153
       Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 2 of 10 PageID #:2




5.    The plaint iff [check one box)

      (u)E         was denied employment by the defendant.


      o)E          was hired and is still employed by the defendant.

      @)w was employed but is no longer employed by the defendant,
6.    The defendant discriminated against the plaintiff on or about, or beginning on or about,
      (month)    5e p*           ,   (day)-_4-, (yeal 20 13

7.1      (Choose paragraph 7.1       or 7.2. do not complete both.l
                  (a) The defendant is not a federal governmental      agency, and the   plaintiff lcheck

                       one   box)    ahasrud              filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the following
govemment agencies:

          (i)      Ehh.      United States Equal Employment Opportunity Commission, on or about




          (ii)     [ftn.Illinois      Department of Human Rights, on or about

                  (month) D       ec-          (davLi          (year) zc, t 3   .



      (b) If charges   were filed with an agency indicated above, a copy of the charge is


attached.        Elrygs. [           *o,   but plaintiff wilt file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff has no reason to believe that this policy was not followed in this case.


7.2        The defendant is a federal governmental agency, and
          (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

          defendant asserting the acts of discrimination indicated in this court complaint.
     Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 3 of 10 PageID #:3




                  tr         Yes (month)                            (day)_          (year)


                  tr         No, did not file Complaint of Employment Discrimination

       (b)    The plaintiff received a Final Agency Decision on (month)
              (dav)               (vear)

       (c)    Attached is a copy of the

              (i) Complaint
                   -        of Employment Discrimination,

                  E tut          E *o, but a copy will be filed within 14 days.

              (ii) Final Agency Decision


                  E ttt           E *o, but a copy will be filed within 14 days.


8.     (Complete paragraph 8 only if defendant is not afederal governmental agency.)


       (")E       the United States Equal Employment Opportunity Commission has not issued


                  a   Notice of Right to Sue.


       falW        the   United States Equal Employment opportunity Commission has issued            a


                  Notice of Right to Sue, which was received by the plaintiff on
                                                        3-l        (yea)   'Zoi"l
                  (month)     Ft.6              @ul,-                                 acopyofwhich
                  Notice is attached to this complaint.


9.     The defendant discriminated against the plaintiff because of the plaintif?s lcheck only

       those that apply):


       (")n    Age (Age Discrimination Employment Act).

       G)E     Color (Title VII of the Civil Rights Act       of   1964 and42 U.S.C. $1981).
      Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 4 of 10 PageID #:4




        (c)E    Disability (Americans with Disabilities Act or Rehabilitation Act)

        (d)E    National Origin (Title Vtr of the Civil Rights Act of 1964 and42 U.S.C. $1981).

        (e)Ekce       (Title vII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

        (0E     Religion (Title VII of the Civil Rights Act of 1964)

        (glE     Sex (Title   VII of the Civil Rights Act of   1964)


10.     If the defendant is a state, county, municipal (city, town or village) or other local
        governmental agency, plaintiff further alleges discrimination on the basis of race, color,

        or national origin (42 U.S.C. $ 1983).

11.     Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII
        claims by 28 U.S.C.$1331,28 U.S.C.$13a3(a)(3), and 42 U.S.C.$2000e-5(f)(3); for
        42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A. by42 U.S.C.$12117;

        for the Rehabilitation Act, 29 U.S.C. $ 791.


12.     The defendant lcheck only those that applyl

        (")f]       failed to hire the plaintiff.

        @)W         terminated the plaintiff   s    employment.

        (.)fl       failed to promote the plaintiff.

        (d)E        failed to reasonably accommodate the plaintiff s religion.

        (.)E        failed to reasonably accommodate the plaintiff s disabilities.

        $)W         failed to stop harassment;

        G)W         retaliated against the plaintiff because the   plaintiffdid something to assert
                     rights protected by the laws identified in paragraphs 9 and 10 above;

        G)n         other (specify):
              Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 5 of 10 PageID #:5




       13.      The facts supporting the plaintiff s claim of discrimination are as follows:
                Alq - llrs, Me-z (wn,+a.Fcrnole- Dt-o$          Frn Ati    ennqLlnuprl she,
                 U)oL6 mq dtre<*       t€Poi^+ c-ncl be<rn MatTclez- Assac.Derrn)r.r.locttcl bc-
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                De<in Mhn"le-z       o


       t4.      IAGE DISCRIMINATION ONLY\ Defendant knowingly, intentionally, and willfully
                discriminated against the plaintiff.

       15.      The plaintiff demands that the case be tried by     a   jury.   E veS EI-NO
       16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
              fcheck only those that apply]


             (")f]        Direct the defendant to hire the plaintiff.

             0)f]         Direct the defendant to re-employ the plaintiff.

             ("lE         Direct the defendant to promote the plaintiff.

             (d)E         Direct the defendant to reasonably accommodate the plaintiff s religion.

             (.)E         Direct the defendant to reasonably accommodate the plaintiff      s   disabilities.

             $)W          Direct the defendant to (specify)i   to       r^.rerre*a-rrtr{ .orhpo,ns^rc +he

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             .e" ?toy wwt+ G le,
    Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 6 of 10 PageID #:6




   felffif          available, grant the plaintiff appropriate injunctive relief,lost wages,
                 liquidated/double damages, front pay, compensatory damages, punitive damages,
                 prejudgment interest, post-judgment interest, and costs, including reasonable
                 attorney fees and expert witness fees.

   $)W           Grant such other relief as the Court may find appropriate.



             s signature)




   (Plaintiffs   street address)

    U4t            Urdgt'              'n Ve       Ar+. lo1



(citv) Lrs                         lState;   -ZL    Qtn Ao€3L
(Plaintiff s telephone number)      @)         fse * (o4 e


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           Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 7 of 10 PageID #:7
*      iZ ( cor>{nnue-)

    Director of Financial Aid for the University. Paul Roberts'title is Assoc Provost for Enrollment
    Management hired Nancy about 4 weeks after I was hired.


    2). I'm not sure of the exact date in August that Nancy   started but the Interim    Dir of Fin Aid
    whom assisted in hiring me on Paul Roberts'behalf informed me around August 22that Paul had
    hired Nancy. Nancy's position had been open for approx. a year and a half and according to some
    of my colleagues in the financial aid industry, it was rumored that Paul Roberts was originally
    looking for  white male to fill that position. When Nancy and I first started communicating via
                  a

    email, she was pleasant to me, such as approving tools and supplies I needed to perform my job.
    On91412013 when   I arranged a meeting with Nancy (Lakeshore Campus) and my dotted line
    supervisoq James Mendez (Maywood Campus), Nancy was very informal with us. Since my role
    reporting structure had changed, James Mendez explained to Nancy the expectations of the
    Maywood Campus and resources needed to perform my job. I wasn't sure if Nancy was just
    uncomfortable with James (black male) and I or she was just nervous. She showed us the IPad
    she had ordered   for me and she was working on requesting    a   pay card, NSLDS aceess, Locus
    access, etc. James asked Nancy about her background working with medical students and
    expressed to her that he was glad to get me on board because he and I had worked together at UIC
    College of Medicine. Nancy then asked James about his position as the Assoc Dean of Student
    Affairs for Stritch School of Medicine (Maywood Campus). When he informed her of his
    credentials, mainly his PH.D Nancy stated, "I could have gotten a Ph.D but it would have been           a
    waste of time." Once our meeting was over, I informed Nancy that I needed to meet with a
    couple of the staffmembers there for follow up and asked     if   she and   I could meet together later to
    discuss her expectations of   me.   She agreed and then informed James that he could he go       to a
    meeting on that c:rmpus or wait for me in the lobby. James explained to Nancy that he had to get
    back to the Maywood Campus to continue writing Dean's letters. About 45 minutes to an hour
    later Nancy came and approached me and stated she couldn't meet with me alone because she had
    to leave and let her husband into their condo.
    Our next meeting wasg/L7 and Nancy came to the Maywood Campus (with her husband). Once
    again, her behavior towards me was odd and possessed discomfon. She sort of ordered me to
    provide coffee and a quiet place for her husband to read. She then excluded me from a meeting
    with Father Yesalonia and the Financial Aid Advisor that I supervised. Once again. I tried to meet
    with her to discuss job expectations management style, etc. Nancy in turn, informed me that she
    needed an office for her webinar and she brought alone a report conducted prior to my

    employment which listed negative thrngs about the Maywood Campus, a copy of Harvard's Policy
    and Procedure Manual and a copy of AAMC's financial aid officerjob description. Father
              Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 8 of 10 PageID #:8


Yesalonia (white) and Lynn Warwrzniak (white) she meant with separately and alone. After her
meeting with father, she then beckoned me to meet with the two of them and he explained to us
both the value of a respectable relationship. She then met with Lyrur (whom I supervised) and
 according to Lynn, Nancy asked her about my relationship with Lynn and if Lynn liked me. She
 also instructed Lynn to stop performing some of her tasks which she never discussed with me.


After    ov   9/17 meeting, I got the email below the next day. She then promoted 3 black females
and hired one white female on the Lakeshore Campus (gave them the same title as myself). None
of these individuals has the amotrnt of experience that I have, however she insisted that they
would be training me and she wanted them to report back to her my lack of knowledge.


 Sorry about this lengthy email. Let me know if you need additional information.
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             '-J
From: Merz,Nancy     tolz,1- T a fitect- a racia,l aM la.rosstnen+*cjairn utnr| kR.
                     tt lg - I oas o@r.;.a.il{I d,sct-,q13o.l
                                                - '-- '-..J"--.    (Mu.ncya Dqi,St ,
Sent: Wednesday, September 18,2013 5:47 PM
                                                                            Nt".n..ge.i)
To: Gee, Carmelita
Subject: Resolving Issues


Dear Carmelita,


This email is in response to several items you are currently inquiring about.


Going forward, I expect you to formally request to attend any conferences and then I will make
the final decision on the validity of your attendance.


As far       AAMC Conference in Philadelphia is concerned, I do not want you to attend and
         as the
Financial Aid will not reimburse nor will we transfer funds for you to attend. I did a ofind' on the
conference agenda and found only one break out session that mentioned financial aid. It is not
cost effective for you to attend that type of conference and I   will not allow the resources of
Loyola University to be spent in that manner.


Having said that, I would like you to register for the National Scholarship Providers Association
Conference, please visit:
                      Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 9 of 10 PageID #:9

.    EEOCForm16l(rlro0)                     U.S.   Eoulu    EmpuovnnrNT OpPoRTUNtw Coumtsstott

                                                    DsrussIl          AND NOICE OF RIGHTS
     To:   Carmellta D. Gee                                                               From: Chicago District Oflice
           c/o Gary Martoccio                                                                   500 West Madison Street
           Spielberger Law Group                                                                Suite 2000
           202 S. Hoover Boulevard                                                              Chicago,lL 60661
           Tampa, FL 33609


                               On behall of person(s) aggrieved whose idontity is
                               CONFIDENNAL 09 CFR 51 601,7h))
     EEOC Charge No.                               EEOC Representative                                                  Telephone No.

                                                   Joseph E. Kuhel,
     444-2014-01187                                lnvestigator                                                         (312) 869-8039
     THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWNG REASON:
         tl         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


         tf         Your allegations did not invotve a disability as defined by the Americans With Disabilities Act.


         n          The Respondent employs less than the required number of employees or is not othena/se covered by the statutes.


         n          Your charge was not fimely liled with EEOC; in other words, you waited too long afler tho date(s) of ttre altegeO
                    discrimination to file your charge

         E          The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                    infonnation obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with


         n
                    the statutes. No finding is made as to any olher issues that might be construed as having been raised by this charge.
                    The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


         tf         Olher (briefly state)



                                                           . NOTICE OF SUIT RIGHTS .
                                                     (Soe il,e additiondl informetion attached to this form.)

    Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
    Discrimination in Employment Act This will be the only notice of dismissal and of your right to sue that we wilt send you.
    You may file a lawsuit against the respondent(s) under federal law based on this charge in federalor state court. Your
    lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
    lost. (The time limit for filing suit based on a claim under state law may be different.)

    Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
    alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears|
    before you file suit may not be collectible.

                                                                       On behalf of the Commission


    Enclosures(s)
                                                                                                                       J la-t la"t./
                                                                                                                             (Date Mailed)



              Teri Firmiss Thompson
              Assistant General Gounsel
              LOYOLA UNIVERSITY OF CHICAGO
              Office of the General Gounsel
              820 N. Michigan Avenue, Suite 750
              Ghicago, lL 60611
                     Case: 1:14-cv-02704 Document #: 1 Filed: 04/15/14 Page 10 of 10 PageID #:10
  EEOC   foar 5 (l   rrog)


                             CHnRce              or     DtscntMtNATtoN                                                Charge Presented     To:             Agency(ies) Charge No(s):
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  Name (ind&ale       Mr, tts,   Mrs,)
                                                                                                                              Horne Phono (rncr. Area Code)                    Date of Birth
   Carmelita D. Gee
                                                                                                                                 (630) 88640e6                               05-1r-1962
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  2843     Wndsor Drlve, Apt 107, Lisle, lL 60532

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  LOYOLA UNIVERSITY
                                                                                                                              500 or More                      (708) 216-8370
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 2160 S. Firct Avenue,


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   Director of Financial Aid. On or adort ttovember
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                                                                                                     Associate

  I believe I have been                   discrifilltgd against because of my race,                               Black, and in retaliation, in violation of                        rifle
  Vll of the Civil Rights Act of 1964, as-amended.




I want th* chargo fited with both the EEOC and
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